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        Exhibit 1 to
Declaration of Mark C. Mao
 ISO Plaintiffs’ Unopposed
Motion for Final Approval of
  Class Action Settlement
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